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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BUDI SANTOSA, individually, and as Special
Administrator of the Estate of YULIA                     No. 19 cv 01698
SILVIANTI, Deceased,
                                                         Removed from
                        Plaintiff,                       Circuit Court of Cook County,
                                                         County Department, Law Division
         v.

THE BOEING COMPANY, a corporation,

                        Defendant.


                 DEFENDANT THE BOEING COMPANY’S ANSWER AND
                AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

         Defendant The Boeing Company (“Boeing”), by and through its attorneys of record,

Perkins Coie LLP, hereby answers the Complaint at Law (“Complaint”) of Plaintiff Budi

Santosa, individually, and as Special Administrator of the Estate of Yulia Silvianti, Deceased

(collectively, “Plaintiff”), as follows, in paragraphs numbered to correspond to the paragraph

numbers in said Complaint. All facts not specifically admitted are denied.

         Boeing also states that the Complaint pertains to an accident on October 29, 2018, that

currently is the subject of an ongoing investigation by the Indonesia National Transportation

Safety Committee (“NTSC-KNKT”), which has not yet been completed. The United States

National Transportation Safety Board (“NTSB”) is a party to the NTSC-KNKT investigation,

and Boeing is providing technical assistance.

         Under international law (Section 5.26 of Annex 13 to the Convention on International

Civil Aviation) and federal law (49 C.F.R. § 831.13 and 49 § U.S.C. 1114(f)), Boeing is

prohibited at this time from releasing information concerning the accident to any person not a

party to the investigation without prior consultation and approval of the NTSB. Accordingly, in

responding to this Complaint, Boeing has not relied upon information made known to certain

Boeing personnel by the NTSB related to the ongoing investigation of the accident.


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                                        INTRODUCTION

      1.      On Monday, October 29, 2018, a newly-delivered Boeing 737 MAX 8
commercial aircraft crashed in the Java Sea off the coast of Indonesia killing everyone on board.
The Boeing 737 MAX 8 was being operated by the Lion Air airline as Lion Air Flight 610.
         ANSWER:

         Boeing admits that on October 29, 2018, a Boeing 737-8 aircraft, operated by Lion Air as

Lion Air Flight JT 610 (the “Subject Aircraft”), crashed into the Java Sea off of the coast of

Indonesia, and that the crash resulted in the deaths of all occupants aboard the Subject Aircraft.

Boeing denies the remaining allegations contained in Paragraph 1.

        2.      The newly-delivered Boeing 737 MAX 8 crashed as a result of, among other
things, a new Boeing flight control system which automatically steered the aircraft toward the
ground, and which caused an excessive nose-down attitude, significant altitude loss, and,
ultimately, the crash into the Java Sea killing everyone on board.
         ANSWER:
         Boeing denies the allegations contained in Paragraph 2.

                             SUBJECT MATTER JURISDICTION

        3.       This Court has subject matter jurisdiction over all justiciable controversies.
Plaintiffs elect to pursue all maritime claims in this Court under the Savings-to-Suitors Clause.
See 28 U.S.C. § 1333.
         ANSWER:

         The allegations contained in Paragraph 3 consist of legal conclusions to which no

response from Boeing is required; to the extent a response is required, Boeing responds that it

has properly removed this case to this Court from the Circuit Court of Cook County, Illinois.

                                       PARTIES & VENUE
        4.      Plaintiff Budi Santosa is a resident of Indonesia and has been appointed by this
Court as the special administrator and personal representative of the estate of his daughter, Yulia
Silvianti. At all relevant times, Yulia Silvianti, deceased, was a resident of Indonesia.
         ANSWER:

         Upon information and belief, Plaintiff is a resident of Indonesia, and the Decedent also

was a resident of Indonesia. Boeing lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations contained in Paragraph 4 and therefore denies them.


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      5.      The Boeing Company (“Boeing”) is a corporation organized under the laws of
Delaware with its worldwide headquarters and principal place of business in Chicago, Illinois.
         ANSWER:

         Boeing admits the allegations contained in Paragraph 5.

                                  GENERAL ALLEGATIONS

I.       Boeing 737 MAX 8 Design & Manufacture

       6.     Boeing’s 737 series of aircraft is the highest selling commercial aircraft in history
with over 10,000 aircraft delivered.
         ANSWER:

         Boeing admits that it has delivered more than 10,000 model 737 aircraft, which is more

than any other model of commercial aircraft in history.

        7.      Boeing’s 737 MAX series is the fourth generation of the Boeing 737 series of
aircraft and was first announced by Boeing on August 30, 2011; the first flight was several years
later, on January 29, 2016.
         ANSWER:
         Boeing admits that the 737 MAX series are the newest models of Boeing’s 737 aircraft.

Boeing also admits that the 737 MAX series was first announced publicly by Boeing on August

30, 2011, and the first flight was on January 29, 2016. Boeing denies the remaining allegations

contained in Paragraph 7 as written.

       8.      Prior to March 8, 2017, Boeing designed the 737 MAX 8 model aircraft in the
United States.
         ANSWER:

         Boeing admits that, prior to March 8, 2017, it designed the 737-8 model aircraft in the

United States, except for those components, parts, and systems of this model aircraft that were

designed by others or that were designed outside of the United States.

       9.      On March 8, 2017, the Federal Aviation Administration (“FAA”) approved the
design for the 737 MAX 8 model aircraft, also known as the 737-8.
         ANSWER:

         Boeing admits that the Federal Aviation Administration amended Type Certificate

A16WE on March 8, 2017 to certify the 737-8.

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       10.     At all relevant times, Boeing manufactured the 737 MAX 8 model aircraft in the
United States.
         ANSWER:

         Boeing admits that the final assembly of 737-8 model aircraft is completed in the United

States. Boeing denies the remaining allegations contained in Paragraph 10 as written.

       11.      The 737 MAX 8 is one of Boeing’s several 737 MAX series of aircraft, the
newest generation of Boeing’s 737 series of aircraft, which Boeing initially designed, in the
United States, in or around 1964—over 50 years ago.
         ANSWER:

         Boeing admits that the 737-8 aircraft is one of the newest models of Boeing’s 737

aircraft. Boeing also admits that it designed the first 737 model aircraft during the 1960s in the

United States, except for those components, parts, and systems of this model aircraft that were

designed by others or that were designed outside of the United States. Boeing denies the

remaining allegations contained in Paragraph 11.

        12.      According to Boeing, as part of its generational redesigns of the 737 series of
aircraft, it “has continuously improved the products, features, and services.”
         ANSWER:
         Boeing responds that Paragraph 12 appears to be an incomplete quote regarding the

Boeing 737NG aircraft, and not the 737-8, but admits that part of Boeing’s work in developing

new aircraft, including the 737-8, is to enhance Boeing’s products and/or services.

       13.     At all relevant times, Boeing marketed the 737 MAX aircraft as a seamless
continuation of its prior 737 series aircraft in terms of operation and maintenance.
         ANSWER:

         Boeing denies the allegations contained in Paragraph 13 as written.

         14.    On its website, Boeing states:

                Airlines ask for an airplane that fits smoothly in today’s fleet

                Because of the 737’s popularity with airlines everywhere around
                the world, integrating the new 737 MAX is an easy proposition. As
                you build your 737 MAX fleet, millions of dollars will be saved
                because of its commonality with the Next-Generation 737, ease of



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                  maintenance, wide availability of 737 pilots, and the global
                  infrastructure that supports the aircraft in operation.1

On the same website, Boeing further states that “737 Flight Crews Will Feel at Home in the
MAX.”2 (emphasis added.)
          ANSWER:

          Boeing admits that Paragraph 14 consists of incomplete portions of quotations found on

the website https://www.boeing.com/commercial/737max/by-design/#/advanced-flight-deck.

        15.     The Boeing 737 MAX 8, however, had a significantly different design from
previous 737-series aircrafts, which as The Wallstreet Journal reported were not appropriately
disclosed to airlines or pilots.
          ANSWER:
          Boeing denies the allegations contained in Paragraph 15.

II.       Boeing 737 MAX 8 Defect

       16.     Unlike any prior 737, Boeing designed the 737 MAX 8 to automatically dive
toward the ground in certain situations, namely, where the aircraft’s flight sensors provided
information indicating such a dive was necessary to maintain lift.
          ANSWER:

          Boeing denies the allegations contained in Paragraph 16.

         17.    A consequence of this unsafe design, however, was that any misinformation from
those flight sensors would cause the Boeing 737 MAX 8 to automatically and erroneously dive
toward the ground even when the aircraft is being flown manually by the pilots. This condition
can lead to an excessive nose-down attitude, significant altitude loss, and possible impact with
terrain.
          ANSWER:

          Boeing denies the allegations contained in Paragraph 17.

III.      Lion Air Flight 610

        18.     In or around August 2018, Boeing delivered a newly manufactured 737 MAX 8
aircraft with tail number PK-LQP (the “Subject Aircraft”) to Lion Air airlines in Indonesia.




1
    https://www.boeing.com/commercial/737max/by-design/#/operational-commonality
2
    https://www.boeing.com/commercial/737max/by-design/#/advanced-flight-deck
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         ANSWER:

         Boeing admits that it delivered the Subject Aircraft, which bears Registration No. PK-

LQP, in August 2018, and that Lion Air was its first operator. Boeing denies the remaining

allegations contained in Paragraph 18.

       19.     Two months later, on the morning of October 29, 2018, Lion Air was operating
the Subject Aircraft on a commercial flight from Jakarta, Indonesia to Pangkal Pinang, Indonesia
(“Lion Air Flight 610”).
         ANSWER:

         Boeing admits that Lion Air was operating the Subject Aircraft on a commercial flight

from Jakarta, Indonesia to Pangkal Pinang, Indonesia on the morning of October 29, 2018.

Boeing denies the remaining allegations contained in Paragraph 19.

        20.     Around 6:22 a.m. on the morning of October 29, 2018, shortly after takeoff from
Jakarta, the pilot for Lion Air Flight 610 asked air traffic control to return to Jakarta because of a
problem controlling the subject aircraft.
         ANSWER:
         Boeing lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 20 and therefore denies them.

       21.     Around 10 minutes later, around 6:32 a.m., the Subject Aircraft crashed into the
Java Sea at a high speed and disintegrated.
         ANSWER:

         Boeing admits that the Subject Aircraft crashed into the Java Sea around 6:32 a.m. on

October 29, 2018. Boeing lacks knowledge or information sufficient to form a belief as to the

truth of the remaining allegations contained in Paragraph 21 and therefore denies them.

         22.    Plaintiff’s decedent was onboard Flight 610 and died in the crash.
         ANSWER:

         Boeing lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 22 and therefore denies them.

       23.     At no relevant time prior to the crash of Lion Air Flight 610 into the Java Sea did
Boeing adequately warn Lion Air or its pilots of the unsafe condition caused by the new “auto-
diving” design of the 737 MAX 8 flight system.

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         ANSWER:

         Boeing denies the allegations contained in Paragraph 23.

         24.    As a result of the crash of Lion Air Flight 610, on November 7, 2018, the FAA
issued “Emergency Airworthiness Directive (AD) 2018-23-51 [to] owners and operators of The
Boeing Company Model 737-8 and -9 airplanes,” which contained mandatory warning and
instructions as to the “unsafe condition … likely to exist or develop” in the 737 MAX 8 relating
to its new auto-diving feature.
         ANSWER:

         Boeing admits that the FAA issued Emergency Airworthiness Directive 2018-23-51 on

November 7, 2018. Boeing denies the remaining allegations contained in Paragraph 24.

        25.     According to reports, prior to the crash of Lion Air Flight 610, Boeing 737 pilots
“were not privy in training or in any other manuals or materials” to information regarding “the
new system Boeing had installed on 737 MAX jets that could command the plane’s nose down in
certain situations to prevent a stall.”3 Further reports indicate that Boeing “withheld information
about potential hazards with the new flight-control feature.”4
         ANSWER:
         Boeing denies the allegations contained in Paragraph 25.

                                          CAUSES OF ACTION

                                           COUNT I
                                  STRICT PRODUCTS LIABILITY

         26.     Plaintiff re-adopts and re-alleges paragraphs 1 through 25 above.
         ANSWER:

         Boeing incorporates herein by reference its responses to Paragraphs 1-25, supra, as if set

forth fully herein.

       27.     At the time the Subject Aircraft left the control of Boeing, the Subject Aircraft
was defective, not fit for its intended purposes and unreasonably dangerous in one or more of the
following particulars:
         a)      the subject aircraft contained an auto-dive system that was designed,
                 manufactured, and configured to dive the aircraft toward the ground in certain
                 conditions against the pilot’s intentions and without adequate warning to the flight
                 crew;


3
 https://www.malaymail.com/s/1692841 /indonesia-says-situation-facing-lion-air-flight-jt610-crew-not-in-flight-ma
4
 https://www.wsj.com/articles/boeing-withheld-information-on-737-model-according-to-safety-experts-and-others-
1542082575
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         b)     the subject aircraft was designed, manufactured, and configured in a manner in
                which an auto-dive disengage during flight created an excessive and unrealistic
                work load on the flight crew;

         c)     the subject aircraft lacked proper and adequate instructions and warnings
                regarding the design and functions of its auto-dive system;

         d)     the subject aircraft lacked proper and adequate instructions and warnings and/or
                limitations regarding flight procedures for a malfunctioning auto-dive system;
                and,

         e)     the subject aircraft was otherwise defective by nature of its design, manufacture,
                configuration, and/or assembly in particulars to be determined by discovery
                herein.
         ANSWER:

         Boeing denies the allegations contained in Paragraph 27, including all sub-parts of

Paragraph 27.

        28.     As a direct and proximate result of one or more of the foregoing conditions, the
Subject Aircraft operating as Lion Air Flight 610 crashed after takeoff in the Java Sea, and
Plaintiff’ decedent suffered personal injury and death.
         ANSWER:

         Boeing denies the allegations contained in Paragraph 28.

        29.    Both for himself, individually, and in his capacity as Special Administrator of the
Estate of Yulia Silvianti, deceased, Plaintiff seeks all damages available under the law.
         ANSWER:

         Boeing denies that Plaintiff is entitled to any relief from Boeing.

        30.     Plaintiff is the duly appointed Special Administrator of the Estate of Yulia
Silvianti, deceased, and brings this action pursuant to the Illinois Wrongful Death Act, 740 ILCS
180/1 et seq., or such other law as the Court determines to be applicable under the circumstances
of this case.
         ANSWER:

         Boeing denies that Plaintiff is entitled to any relief from Boeing.

        WHEREFORE, the Plaintiff, Budi Santosa, as Special Administrator of the Estate of
Yulia Silvianti, deceased, prays that the Court enter judgment in his favor and against the
Defendant, The Boeing Company, and award him all damages available under the law, his court
costs in this matter, and such other relief as the Court deems just and proper. Plaintiff seeks a
sum in excess of the jurisdictional amounts of the Law Division of the Circuit Court of Cook
County, Illinois.



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         ANSWER:

         Boeing denies that Plaintiff is entitled to any relief from Boeing.

                                      COUNT II
                           NEGLIGENCE – PRODUCTS LIABILITY

         31.    Plaintiff re-adopts and re-alleges paragraphs 1 through 25 above.
         ANSWER:

         Boeing incorporates herein by reference its responses to Paragraphs 1-25, supra, as if set

forth fully herein.

       32.     At all relevant times, Boeing owed a legal duty to assure that the Subject Aircraft
was properly designed, manufactured, and assembled and free from defects so as not to cause
personal injury or death.
         ANSWER:
         The allegations contained in Paragraph 32 consist of legal conclusions to which no

response from Boeing is required; to the extent a response is required, Boeing denies these

allegations as written.

       33.    Boeing breached its duties under the law and was negligent in one or more of the
following ways:
         a)     the subject aircraft contained an auto-dive system that was designed,
                manufactured, and configured to dive the aircraft toward the ground in certain
                conditions against the pilot’s intentions and without adequate warning to the flight
                crew;
         b)     the subject aircraft was designed, manufactured, and configured in a manner in
                which an auto-dive disengage during flight created an excessive and unrealistic
                work load on the flight crew;

         c)     the subject aircraft lacked proper and adequate instructions and warnings
                regarding the design and functions of its auto-dive system; and,

         d)     Boeing failed to conduct appropriate testing of the subject aircraft’s components
                and systems prior to delivery to Lion Air.
         ANSWER:

         Boeing denies the allegations contained in Paragraph 33, including all sub-parts of

Paragraph 33.



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        34.    As a direct and proximate result of one or more of the aforementioned acts of
negligence by Boeing, the Subject Aircraft operating as Lion Air Flight 610 crashed after takeoff
in the Java Sea and Plaintiff’s decedent sustained fatal injuries.
         ANSWER:

         Boeing denies the allegations contained in Paragraph 34.

        35.    Due to the tragic death of his family member, Plaintiff has suffered pain and has
sustained substantial pecuniary losses, including grief, sorrow, mental suffering, loss of society,
and loss of companionship, love, and affection.
         ANSWER:

         Boeing lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 35 and therefore denies them.

        36.    Both for himself, individually, and in his capacity as Special Administrator of the
Estate of Yulia Silvianti, deceased, Plaintiff seeks all damages available under the law.
         ANSWER:
         Boeing denies that Plaintiff is entitled to any relief from Boeing.

        37.     Plaintiff is the duly appointed Special Administrator of the Estate of Yulia
Silvianti, deceased, and brings this action pursuant to the Illinois Wrongful Death Act, 740 ILCS
180/1 et seq., or such other law as the Court determines to be applicable under the circumstances
of this case.
         ANSWER:

         Boeing denies that Plaintiff is entitled to any relief from Boeing.

        WHEREFORE, the Plaintiff, Budi Santosa, as Special Administrator of the Estate of
Yulia Silvianti, deceased, prays that the Court enter judgment in his favor and against the
Defendant, The Boeing Company, and award him all damages available under the law, his court
costs in this matter, and such other relief as the Court deems just and proper. Plaintiff seeks a
sum in excess of the jurisdictional amounts of the Law Division of the Circuit Court of Cook
County, Illinois.
         ANSWER:

         Boeing denies that Plaintiff is entitled to any relief from Boeing.

                                      COUNT III
                             NEGLIGENCE – FAILURE TO WARN

         38.    Plaintiff re-adopts and re-alleges paragraphs 1 through 25 above.




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         ANSWER:

         Boeing incorporates herein by reference its responses to Paragraphs 1-25, supra, as if set

forth fully herein.

       39.      At all relevant times, Boeing had a duty to inform and warn the owners, operators,
and pilots of the 737 MAX 8 series of aircraft, including the Subject Aircraft, of the unsafe
condition likely to exist or develop by virtue of the auto-dive feature.
         ANSWER:

         The allegations contained in Paragraph 39 consist of legal conclusions to which no

response from Boeing is required; to the extent a response is required, Boeing denies these

allegations as written.

       40.    Boeing breached its duties under the law and was negligent in one or more of the
following ways:

         a)     the subject aircraft lacked proper and adequate instructions and warnings
                regarding the design and functions of its auto-dive system;

         b)     the subject aircraft lacked proper and adequate instructions and warnings and/or
                limitations regarding flight procedures for a malfunctioning auto-dive system;
                and,

         c)     the 737 MAX 8 Flight Crew Operations Manual failed to appropriately alert
                pilots, including the pilots of the subject aircraft, to the design, functions, and
                hazards of Boeing’s auto-dive system and procedures for addressing a
                malfunctioning auto-dive system.
         ANSWER:
         Boeing denies the allegations contained in Paragraph 40, including all sub-parts of

Paragraph 40.

        41.    As a direct and proximate result of that breach, the Subject Aircraft operating as
Lion Air Flight 610 crashed after takeoff in the Java Sea, and Plaintiff’s decedent sustained fatal
injuries.
         ANSWER:

         Boeing denies the allegations contained in Paragraph 41.

        42.    Due to the tragic death of his family member, Plaintiff has suffered pain and has
sustained substantial pecuniary losses, including grief, sorrow, mental suffering, loss of society,
and loss of companionship, love, and affection.



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         ANSWER:

         Boeing lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 42 and therefore denies them.

        43.    Both for himself, individually, and in his capacity as Special Administrator of the
Estate of Yulia Silvianti, deceased, Plaintiff seeks all damages available under the law.
         ANSWER:

         Boeing denies that Plaintiff is entitled to any relief from Boeing.

        44.     Plaintiff is the duly appointed Special Administrator of the Estate of Yulia
Silvianti, deceased, and brings this action pursuant to the Illinois Wrongful Death Act, 740 ILCS
180/1 et seq., or such other law as the Court determines to be applicable under the circumstances
of this case.
         ANSWER:
         Boeing denies that Plaintiff is entitled to any relief from Boeing.

        WHEREFORE, the Plaintiff, Budi Santosa, as Special Administrator of the Estate of
Yulia Silvianti, deceased, prays that the Court enter judgment in his favor and against the
Defendant, The Boeing Company, and award him all damages available under the law, his court
costs in this matter, and such other relief as the Court deems just and proper. Plaintiff seeks a
sum in excess of the jurisdictional amounts of the Law Division of the Circuit Court of Cook
County, Illinois.
         ANSWER:

         Boeing denies that Plaintiff is entitled to any relief from Boeing.

                       AFFIRMATIVE AND ADDITIONAL DEFENSES

                                         FIRST DEFENSE
         1.     The Complaint and all claims for relief therein should be dismissed on the ground

of forum non conveniens.

                                        SECOND DEFENSE
         2.     Plaintiff’s damages, if any, were proximately caused by the acts or omissions of

others over whom Boeing had no control or right of control, which may include but are not

limited to the flight crew and the operator, and/or said acts or omissions were a superseding and

sole, direct, and proximate cause of Plaintiff’s damages, if any.



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                                        THIRD DEFENSE
         3.    If Plaintiff was damaged by products originally designed, manufactured,

assembled, inspected, tested, or sold by Boeing, those products were subsequently installed,

removed, exchanged, altered, modified, retrofitted, repaired, overhauled, remanufactured,

improperly maintained, or misused by persons and/or entities other than Boeing, and over whom

Boeing had no control or right of control, and such installation, removal, change, alteration,

repair, modification, retrofitting, overhauling, remanufacturing, improper maintenance, or misuse

proximately caused or contributed to the events alleged in the Complaint and the resulting

damages complained of, if any.

                                       FOURTH DEFENSE
         4.    Third parties over whom Boeing had no control, which may include but are not

limited to the flight crew and the operator, altered and/or misused the Subject Aircraft, which

was the sole, direct, and proximate cause of the damages, if any, of Plaintiff.

                                         FIFTH DEFENSE
         5.    Boeing places in issue the negligence, fault, and responsibility of all persons and

entities, which may include but are not limited to the flight crew and the operator, that have

contributed in any degree to the injuries and damages alleged to have been sustained by Plaintiff.

Judgment against Boeing, if any, should be diminished to an amount that represents Boeing’s

degree of negligence, fault, or responsibility, if any.

                                         SIXTH DEFENSE
         6.    Plaintiff’s claims may be barred by virtue of failing to properly identify the

plaintiff personal representative.

                                      SEVENTH DEFENSE
         7.    The Subject Aircraft was intended for and sold to a knowledgeable and

sophisticated user over whom Boeing had no control.




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                                       EIGHTH DEFENSE
         8.    The Subject Aircraft was certified as airworthy by the Federal Aviation

Administration, and the Subject Aircraft and its manuals, instructions, warnings, and other

related documents complied with all applicable codes, standards, and regulations of the United

States and agencies thereof at the time it was delivered by Boeing.

                                        NINTH DEFENSE
         9.    Boeing complied with all applicable federal, state, and foreign statutes, codes, and

administrative regulations existing at the time the Subject Aircraft was manufactured and all

applicable standards for design, inspection, testing, warning and manufacture.

                                        TENTH DEFENSE
         10.   The design of the Subject Aircraft and each component thereof that was installed

at the time of delivery by Boeing was consistent with or exceeded the “state of the art” at the

time of its design and manufacture.

                                      ELEVENTH DEFENSE
         11.   The benefits of the design of the Subject Aircraft and each component thereof

outweigh the risks associated therewith, if any.

                                      TWELFTH DEFENSE
         12.   The Complaint and all claims for relief therein should be dismissed on the ground

that Plaintiff has failed to join necessary and indispensable parties.

                                    THIRTEENTH DEFENSE
         13.   Plaintiff may lack standing to bring this action.

                                   FOURTEENTH DEFENSE
         14.   An award or judgment rendered in favor of Plaintiff must be reduced by the

amount of benefits Plaintiff received, or is entitled to receive, from any source as a result of this

accident.




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                                     FIFTEENTH DEFENSE
         15.    Some or all of Plaintiff’s claims and available damages may be barred by virtue of

prior settlements.

                                     SIXTEENTH DEFENSE
         16.    Evidence of subsequent remedial measures is not admissible to prove liability.

See Federal Rule of Evidence 407.

                                   SEVENTEENTH DEFENSE
         17.    Plaintiff’s claims may be barred in whole or in part and/or preempted by federal

law.

                                    EIGHTEENTH DEFENSE
         18.    Plaintiff’s Complaint is premature in that it was filed and served before the

completion of the investigations arising from the October 29, 2018 accident at issue, including

the ongoing investigation of the Indonesia National Transportation Safety Committee. Boeing

reserves the right to add those affirmative defenses that it deems necessary to its defense during

or upon the conclusion of investigation and discovery. Boeing further reserves the right to assert

any additional affirmative defenses asserted by another defendant and/or allowed by the law of

the jurisdiction found to apply in this case.

  NOTICE OF THE APPLICABILITY OF THE LAW OF ANOTHER JURISDICTION
         Pursuant to Federal Rule of Civil Procedure 44.1, Boeing gives notice that it may raise

issues concerning the applicability of the law of another jurisdiction, including but not limited to

the laws of other states and/or a foreign country or countries, and reserves the right to assert and

plead such other claims and defenses available to it arising out of the application of the

substantive laws of another jurisdiction.

                     PRAYER FOR RELIEF & DEMAND FOR JUDGMENT
         WHEREFORE, Defendant The Boeing Company prays as follows:
         That Plaintiff takes nothing by the Complaint, that the Complaint be dismissed, and that

judgment on the Complaint be entered for Boeing;

ANSWER TO COMPLAINT
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         That Boeing be awarded its costs of suit and attorneys’ fees;

         That the Court grant such further relief as the Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL
         Defendant The Boeing Company hereby demands trial by jury on all claims and defenses

before the Court in this litigation.


DATED: March 15, 2019                         THE BOEING COMPANY


                                              By: /s/ Bates McIntyre Larson
                                                  One of its Attorneys


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                                 CERTIFICATE OF SERVICE

I, Bates McIntyre Larson, certify that on March 15, 2019, I electronically filed the foregoing
ANSWER TO COMPLAINT with the Clerk of the Court using the CM/ECF system, which will
send notification of such filing to attorneys of record, and served a copy by email on the following
counsel of record.


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I certify under penalty of perjury that the foregoing is true and correct.

DATED this 15th day of March, 2019.


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